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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS

*************************************************
PEDRO LOPEZ; ABEL CANO; KEVIN SLEDGE;           *
CHARLES DEJESUS; RICHARD BROOKS;                *
ROBERT ALVAREZ; MARISOL NOBREGA;                *
SPENCER TATUM; THE MASSACHUSETTS                *
HISPANIC LAW ENFORCEMENT ASSOCIATION; *
SHUMEAND BENFOLD; ANGELA WILLIAMS-              *
MITCHELL; GWENDOLYN BROWN; LYNETTE              *
PRAILEAU; INDIVIDUALLY AND ON BEHALF            *
OF A CLASS OF INDIVIDUALS SIMILARLY             *
SITUATED,                                       *
                  Plaintiffs                    *
v.                                              *   Civil Action No. 07-11693-JLT
                                                *
CITY OF LAWRENCE, MASSACHUSETTS;                *
CITY OF METHUEN, MASSACHUSETTS;                 *
COMMONWEALTH OF MASSACHUSETTS;                  *
PAUL DIETL, IN HIS CAPACITY AS PERSONNEL *
ADMINISTRATOR FOR THE COMMONWEALTH *
OF MASSACHUSETTS, HUMAN RESOURCES               *
DIVISION; JOHN MICHAEL SULLIVAN, IN HIS         *
CAPACITY AS MAYOR OF THE CITY OF                *
LAWRENCE, MASSACHUSETTS;                        *
WILLIAM MANZI, III, IN HIS CAPACITY             *
AS MAYOR OF CITY OF METHUEN,                    *
MASSACHUSETTS; CITY OF LOWELL,                  *
MASSACHUSETTS; APPOINTING AUTHORITY             *
FOR THE CITY OF LOWELL, MASSACHUSETTS; *
CITY OF WORCESTER, MASSACHUSETTS; and           *
MICHAEL O'BRIEN IN HIS CAPACITY AS CITY *
MANAGER OF THE CITY OF WORCESTER,               *
MASSACHUSETTS, CITY OF BOSTON,                  *
                                                *
                  Defendants                    *
*************************************************

 MEMORANDUM OF DEFENDANT CITIES OF BOSTON, LAWRENCE, LOWELL,
    METHUEN & WORCESTER, AND DEFENDANT COMMONWEALTH OF
MASSACHUSETTS IN OPPOSITION TO PLAINTIFFS’ SIXTH MOTION TO AMEND
                          COMPLAINT
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               The Cities of Boston, Lowell, Lawrence, Methuen and Worcester, and the State

Defendants, 1 submit this joint opposition to Plaintiffs’ Sixth Motion to Amend Complaint. As

evidenced by the title of Plaintiffs’ motion, Plaintiffs have previously filed five amended

complaints. There are currently 12 individual Plaintiffs to this action, and an association (the

Hispanic Law Enforcement Association). By virtue of their sixth Amended Complaint, Plaintiffs

now seek to add 33 new plaintiffs, and two new defendants (the City of Springfield and its

Mayor (collectively “Springfield”), and the Massachusetts Bay Transportation Authority, its

General Manager and Trustees (collectively “MBTA”)). The proposed amended complaint, like

prior complaints, alleges that certain municipalities2 and the State Defendants violated Title VII

of the Civil Rights Act of 1964, 42 U.S.C. §2000e et seq. (“Title VII”), and M.G.L. c.151B

(“Chapter 151B”), by not promoting the Plaintiffs to police sergeant positions based on the

results of examinations administered in 2005, 2006 and 2007. These examinations allegedly had

a “disparate impact” on African-American and Hispanic applicants.

               Plaintiffs’ motion should be denied because 1) Plaintiffs unnecessarily seek to

expand and prolong this action, in which discovery is scheduled to close in less than two months;

and 2) Plaintiffs have not followed the administrative prerequisites for asserting the claims of

unlawful discrimination alleged in the proposed amended complaint, such that their proposed

amendment is futile and must be rejected.

A.     Case Background

               On September 11, 2007, five individuals and the Massachusetts Hispanic Law

Enforcement Association filed suit against the City of Lawrence and John Michael Sullivan in

1
 The “State Defendants” are the Commonwealth of Massachusetts and Paul Dietl, in his capacity
as Chief Human Resources Officer of the Human Resources Division.
2
The municipalities currently named as defendants are the cities of Boston, Lawrence, Lowell,
Methuen and Worcester.


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his capacity as Mayor of Lawrence (collectively “Lawrence”); the City of Methuen and William

Manzi III in his capacity as Mayor of Methuen (collectively “Methuen”); and the

Commonwealth of Massachusetts, Human Resources Division (“HRD”), and Paul Dietl in his

capacity as Personnel Administrator for HRD of the Commonwealth of Massachusetts

(collectively the “State Defendants”). The Complaint sought, among other things, injunctive and

declaratory relief.

                On November 16, 2007, this Court issued a Rule 26 Discovery Order.

                On December 21, 2007, in the Joint Statement signed by Plaintiffs, the

Commonwealth, Lawrence and Methuen, “[t]he parties agreed that the deadline for joining other

parties and amending the initial pleadings shall be March 30, 2008.”

                On January 2, 2008, Plaintiffs filed a Motion to Amend Complaint and attached

their First Amended Complaint. The proposed First Amended Complaint added three individual

plaintiffs and three additional defendants: William Martin in his capacity as Mayor of the City of

Lowell (“Martin”), and the City of Worcester and Konstantina B. Lukes in her capacity as Mayor

(collectively “Worcester”). The First Amended Complaint also sought class certification and

included new allegations. While the First Amended Complaint discusses the City of Lowell, and

lists the City in the case caption, it does not name the City of Lowell as a defendant. Plaintiffs’

Motion to Amend did not include the certificate required by Local Rule 15.1(B), stating that the

proposed new parties had been notified, at least ten days before the motion was filed, of the

motion to amend and the date of filing. 3 In fact, none of the proposed defendants, as well as

Lowell, had received any notification of the proposed amendment prior to filing with this Court.



3
 Local Rule 15.1(B) provides that “[a] party moving to amend a pleading to add a new party shall
serve, in the manner contemplated by Fed. R. Civ. P. 5(b), the motion to amend upon the
proposed new party at least ten (10) day in advance of filing the motion, together with a separate


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               On January 3, 2008, this Court held a Scheduling Conference regarding the

various issues and allowed Plaintiffs’ Motion to Amend.

               On January 4, 2008, the Plaintiffs filed what they labeled their “Second Amended

Complaint,” which was virtually identical to the proposed “first” amended complaint filed on

January 2, 2008, except that it explicitly added the City of Lowell as an additional defendant. As

noted, none of the newly named defendants received any notice of the proposed amendment in

any manner, much less the procedure required by Local Rule 15.1(B).

               On January 15, 2008, the Plaintiffs filed another Motion to Amend Complaint and

attached their Third Amended Complaint. The proposed Third Amended Complaint changed

two defendants, naming the “Appointing Authority” for the City of Lowell replacing Martin and

naming Michael O’Brien, City Manager for the City of Worcester replacing Lukes. The Third

Amended Complaint also included new allegations. Plaintiffs’ second motion to amend did not

include a certificate of compliance with Local Rule 15.1(B) for the newly named defendants.

Lowell and Worcester were unaware of this Third Amended Complaint.

               Also on January 15, 2008, Plaintiffs filed a Motion to Certify Class and an

accompanying memorandum. The Plaintiffs failed to comply with Local Rule 7.1(2) as they did

not confer with Lowell or Worcester regarding class certification. Further, the Plaintiffs never

provided a copy of the second motion to amend or the motion and memorandum regarding the

class certification to Lowell or Worcester.

               On February 13, 2008, Plaintiffs filed their Third Amended Complaint.




document stating the date on which the motion will be filed. A motion to amend a pleading to
add a new party shall be accompanied by a certificate stating that it has been served in advance
of the new party as required by this rule.”


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               On March 11, 2008, the Plaintiffs filed their “Fourth Motion to Amend

Complaint” and attached their Fourth Amended Complaint. The proposed Fourth Amended

Complaint added four individual plaintiffs, one additional defendant (the City of Boston) and

included new allegations. Plaintiffs’ “fourth” motion to amend did not include a certificate of

compliance with Local Rule 15.1(B). In fact, Boston was not notified in any manner of the

proposed amendment prior to service of the complaint. Further, the Plaintiffs failed to comply

with Local Rule 7.1(2) as they did not confer with Lawrence, Lowell, Methuen, or Worcester

prior to the filing of the motion. Their Certificate of Consultation only states a conference with

the State Defendants.

               In accordance with this Court’s order dated April 29, 2008, Plaintiffs, on May 30,

2008, filed their Fifth Amended Complaint, which included new allegations.

               The most recent status conference in this action was held on August 12, 2008.

This conference was held two months after this Court’s order, dated June 9, 2008, denying

Plaintiffs’ Motion for Class Certification as to the liability stage of this action. On July 11, 2008,

Plaintiffs filed with the U.S. Court of Appeals for the First Circuit their “Petition Pursuant to

Fed. R. Civ. P. 23(f) for Permission to Appeal from Order Denying Class Certification.” By

order dated September 12, 2008, one month after the conference, the First Circuit denied

Plaintiffs’ petition. Thus, the petition is no longer pending, as stated erroneously at p. 3, n.7, of

Plaintiffs’ Motion to Amend, dated September 24.

               At the August 12th conference, as confirmed by the hearing transcript, Plaintiffs

agreed to a deadline of November 30 for completing discovery. In agreeing to this date,

Plaintiffs never referred to the possibility of adding further plaintiffs and defendants if their

petition to the First Circuit were denied.




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              On September 24, 2008, the Plaintiffs filed their “Sixth Motion to Amend

Complaint” and attached their Sixth Amended Complaint.          As noted, the proposed Sixth

Amended Complaint seeks to add 33 individual plaintiffs, five additional defendants, and

includes new allegations. Plaintiffs’ sixth motion to amend did not include the certificate of

compliance required by Local Rule 15.1(B) regarding notice to the prospective defendants.

              As of September 29, 2008, the Plaintiffs had completed the depositions of three

State Defendants as allowed by the Court. Boston, Lawrence, Lowell, Methuen and Worcester

as named defendants had notice of the depositions.

B.     Argument:      Plaintiffs’ Motion to Amend Should Be Denied.

       1.     Courts Carefully Scrutinize Motions To Amend.

              While Fed. R. Civ. P. 15(a) provides that leave to amend a complaint “shall be

freely given when justice so requires,” “Rule 15(a) does not provide the courts with a rubber

stamp to simply allow every motion to amend without consideration of the merits. The First

Circuit has clearly held that a court may deny a motion to amend under Rule 15(a) when the

record demonstrates that amendment would be, among other reasons, futile, made in bad faith,

the product of undue delay, or a dilatory tactic on the part of the movant.” Patoski v. Jackson,

477 F. Supp. 2d 361, 362 (D. Mass. 2007), citing Hatch v. Department for Children, Youth and

Their Families, 274 F. 3d 12, 19 (1st Cir. 2001). “[A] court considering a motion to amend

should consider the totality of the circumstances and balance the equitable considerations which

bear on the motion. Whether the proposed amendment would unfairly prejudice the opposing

party, whether the party seeking the amendment has exercised due diligence, and whether the

proposed amendment involves futility, unseemly delay, bad faith, or waste of the court’s or the




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parties’ resources are all factors which may be considered.” Weber v. Sanborn, 526 F. Supp. 2d

135, 140-141 (D. Mass. 2007).

               “In assessing futility, the district court must apply the standard which applies to

motions to dismiss under Fed. R. Civ. P. 12(b)(6).”           Adorno v. Crowley Towing and

Transportation Co., 443 F. 3d 122, 126 (1st Cir. 2006). Under Rule 12(b)(6), a court “must give

credence to all well-pleaded facts and indulge all reasonable inferences that fit the plaintiff’s

stated theory of liability.” Rogan v. Menino, 175 F. 3d 75, 77 (1st Cir.), cert. denied sub nom.,

Rogan v. Evans, 528 U.S. 1062 (1999). Nonetheless, a court does not “accept a plaintiff’s

unsupported conclusions or interpretations of law.” Serpa Corp. v. McWane, Inc., 199 F. 3d 6, 9

(1st Cir. 1999).   “[M]inimal requirements are not tantamount to nonexistent requirements.”

Gooley v. Mobil Oil Corp., 851 F. 2d 513, 514 (1st Cir. 1988), quoted in Cooperman v.

Individual, Inc., 171 F. 3d 43, 47 (1st Cir. 1999).

       2.      Plaintiffs’ Proposed Amendment Will Further Delay This Action.

               Plaintiffs’ proposed amendment would significantly expand the number of parties

to this action, and make it virtually impossible to complete discovery by the current deadline of

November 30. There is no justification for further expanding and delaying this action, and thus

Plaintiffs’ motion should be denied.

               The Sixth Amended Complaint of Plaintiffs, if allowed, would add 33 new

plaintiffs to this action, and two sets of new defendants (Springfield and the MBTA). The

addition of so many new parties would make it virtually impossible to complete discovery by the

November 30th deadline established last summer by this Court, and indeed, would very likely

extend the deadline by several more months. While the First Circuit had not ruled on Plaintiffs’

petition for leave to appeal prior to the August 12th conference, Plaintiffs never stated at the




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conference that the denial of their petition could result in their seeking to expand this action by

adding a large number of new plaintiffs and defendants.

               The filing of the proposed Sixth Amended Complaint raises the prospect that the

number of plaintiffs and defendants will only keep growing and growing, on a piecemeal basis,

with no end in sight. As originally filed in September 2007, the complaint named just five

individual Plaintiffs, and three sets of defendants (the cities of Lawrence and Methuen, and the

State Defendants). As detailed above, the action has repeatedly expanded over the ensuing year,

such that, one year later, the proposed amendment would increase the number of Plaintiffs from

the current level of 12 to 45. There is no indication that the search for additional plaintiffs or

defendants is at an end. In fact, there are many more civil service communities that participated

in the 2005, 2006 and 2007 sergeant promotional examinations.

               The seemingly endless pursuit of more plaintiffs and defendants serves no

legitimate purpose. This action has been bifurcated into liability and remedial phases. There is

no reason to believe that Plaintiffs will have a greater likelihood of holding Defendants liable for

unlawful disparate impact discrimination due to the addition of 33 further plaintiffs, as opposed

to the 12 individual Plaintiffs already in the case. Indeed, Plaintiffs will bear the burden of

establishing, for each plaintiff, that she or he is “as qualified as” those actually promoted. See

Adams v. City of Chicago, 469 F. 3d 609, 613 (7th Cir. 2006), cert. denied, 127 S. Ct. 2141

(2007). It would be entirely speculative to conclude that the increased number of plaintiffs will

enhance the likelihood that each plaintiff, or any of them, will meet this standard. Moreover, any

prospective injunctive relief that this Court may order at the remedial stage likely would have the

same impact regardless of the number of party plaintiffs.




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               Additionally, continuing to add and add plaintiffs and defendants, with no end in

sight, and for no apparent legitimate purpose, will simply prolong this action, and unfairly

prejudice the public defendants by adding unnecessarily to the expense of this action. Examples

of this unfair prejudice include 33 new depositions, a fifth scheduling conference for the State

Defendants, Lawrence and Methuen, and a new discovery order. Further, proposed defendants

MBTA and Springfield legitimately may raise any number of new issues in their defense,

including the fairness of depositions that concluded when they were not parties to the

proceedings. This Court should put an end to the addition of parties to this action, and deny

Plaintiffs’ motion.   See Epstein v. C.R. Bard, Inc., 460 F. 3d 183, 191 (1st Cir. 2006)

(“‘Critically, we have held that [w]here an amendment would be futile or would serve no

legitimate purpose, the district court should not needlessly prolong matters,’” quoting Correa-

Martinez v. Arrillaga-Belendez, 903 F. 2d 49, 59 (1st Cir. 1990)).

       3.      The Prospective Plaintiffs Have Not Met The Administrative Requirements
               For Bringing Suit.

               The proposed 6th Amended Complaint, like the complaints previously filed,

alleges claims of disparate impact discrimination under Title VII and Chapter 151B. Plaintiffs

do not allege in their proposed amendment that any of the prospective plaintiffs have met the

prerequisites for bringing suit, and thus the motion to amend must be denied as futile.

               “An action cannot be brought in the Superior Court under G.L. c.151B, §9, unless

it is preceded by the filing of a complaint of unlawful discrimination with the MCAD within six

months of the occurrence of the discriminatory event.” Carter v. Commissioner of Correction,

43 Mass. App. Ct. 212, 217, 681 N.E. 2d 1255, 1259 (1997). While the six month period has

been increased to 300 days, see M.G.L. c.151B, §5, as amended by St. 2002, c.223, §1, the

principle remains the same. See, e.g., Theroux v. Singer, 21 Mass. L. Rptr. 187, 188 (Superior



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Ct. 2006). Similarly, “[i]t is axiomatic that before seeking relief from the courts under Title VII,

a litigant must exhaust available administrative remedies in a timely fashion.”          Patoski v.

Jackson, 477 F. Supp. 2d at 362-363.

               Despite this well-established requirement to exhaust administrative remedies, the

6th Amended Complaint fails to allege that any of the 33 additional plaintiffs, including 25

employed as Boston police officers, have filed charges of discrimination. It was not until

October 3, nearly two weeks after Plaintiffs filed their motion to amend, that Boston received

notice that the 25 additional “Boston plaintiffs” had filed discrimination charges. 4 Plaintiffs, of

course, are required to exhaust their administrative remedies before filing suit, and not the other

way around. Accordingly, the disparate impact claim which these prospective plaintiffs seek to

bring is futile, and the motion to amend should be denied.

               The claims of the 33 proposed additional plaintiffs also raise significant statute of

limitations issues. Under anti-discrimination law, the “limitations period begins to run ‘at the

first discrete act of discrimination.’” Thornton v. United Parcel Service, Inc., 565 F. Supp. 2d

273, 280 (D. Mass. 2008), quoting National Railroad Passenger Corp. v. Morgan, 536 U.S. 101,

113 (2002). At least one court, in Lewis v. City of Chicago, 528 F. 3d 488 (7th Cir. 2008), has

held that the statute of limitations for a claim of unlawful disparate impact under Title VII, based

on a written examination for applicants for firefighter positions, commenced when the test scores

were communicated.

               Defendants anticipate that the claims of these 33 additional plaintiffs, should they

proceed, will fail on timeliness grounds. Discovery will undoubtedly show that the prospective

plaintiffs (at least the 25 new Boston plaintiffs), like the existing Plaintiffs to this action,


4
 According to the proposed Amended Complaint, the other additional plaintiffs are employed by
proposed defendants Springfield and the MBTA, which are not currently parties to this action.


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received their test results in the spring of 2006, some 18 months before the filing of the original

complaint in this action. Assuming arguendo that discrimination charges have been filed, the

filings could not have occurred before September 2008, some 2½ years after the communication

of the test results. The claims of these prospective plaintiffs are far outside any concept of

“equitable tolling,” and so will very likely fail. Compare Thornton v. United Parcel Service,

Inc., 565 F. Supp. 2d at 280 n.14 (“‘Federal courts should not apply equitable tolling liberally to

extend time limitations in discrimination cases. In a nutshell, equitable tolling is reserved for

exceptional cases,’” quoting Chico Valez v. Roche Products, Inc., 139 F. 3d 56, 58-59 (1st Cir.

1998)).

C.        Conclusion

                For all the above reasons, Plaintiffs’ Motion to Amend should be denied.

Respectfully submitted,

COMMONWEALTH OF MASSACHUSETTS,
and PAUL DIETL in his capacity as Human
Resources Officer of the Human Resources Division,

By their Attorneys,

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Dated: October 7, 2008




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Respectfully submitted,                            Respectfully submitted,
CITY OF BOSTON,                                    CITY OF LOWELL,
By its attorneys,                                  By its attorneys,

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                                                   CITY OF WORCESTER and MICHAEL
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                                                   Dated: October 7, 2008
Dated: October 7, 2008




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                                CERTIFICATE OF SERVICE

       I, Robert P. Morris, certify that on October 7, 2008, this document filed electronically
through the ECF system will be sent electronically to the registered participants as identified on
the Notice of Electronic Filing (NEF) and paper copies will be sent to any persons indicated as
non-registered participants.


                                                    /s/Robert P. Morris
                                                    Robert P. Morris




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